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 6
                                UNITED STATES DISTRICT COURT
 7
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8                                    SAN JOSE DIVISION

 9   S.Y., Z.D., Y.W., H.G., W.X.,
                                                            Case No. 5:25-cv-03244-NW
10
            Plaintiffs,
11                                                          MOTION FOR TEMPORARY
            v.                                              RESTRAINING ORDER
12
13                                                          POINTS AND AUTHORITIES
     Kristi NOEM, in her official capacity, Secretary,      IN SUPPORT OF EX PARTE
14   U.S. Department of Homeland Security;                  MOTION FOR TEMPORARY
                                                            RESTRAINING ORDER AND
15   Todd M. LYONS, in his official capacity, Acting        MOTION FOR PRELIMINARY
16   Director, Immigration and Customs                      INJUNCTION: HEARING
     Enforcement, U.S. Department of Homeland               REQUESTED
17   Security;
                                                            Request for Declaratory and Injunctive
18   Moises BECERRA, in his official capacity,              Relief
19   Acting Field Office Director of San Francisco
     Office of Detention and Removal, U.S.
20   Immigrations and Customs Enforcement, U.S.
     Department of Homeland Security; and
21
22   Donald J. TRUMP, in his official capacity,
     President of the United States of America;
23
            Defendants.
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     Motion for TRO; Points and Authorities in Support of        Case No. 5:25-cv-03244-NW
     Plaintiffs’ Motion for Ex Parte TRO/PI
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 1                                        NOTICE OF MOTION
 2          Pursuant to Rule 65(b) of the Federal Rules of Civil Procedure and Rule 65-1 of the
 3   Local rules of this Court, Plaintiffs hereby move this Court for an order enjoining Defendants
 4   Kristi Noem, in her official capacity as the Secretary of the U.S. Department of Homeland
 5   Security (“DHS”), Todd M. Lyons, in his official capacity as the Acting Director of Immigration
 6   and Customs Enforcement (“ICE”), Moises Becerra in his official capacity at the Acting Field
 7   Office Director of the San Francisco ICE Office of Detention and Removal, and Donald J.
 8   Trump in his official capacity as President of the United States of America from taking any
 9   enforcement action against Plaintiffs arising directly or indirectly the unlawful termination of
10   their Student and Exchange Visitor Information Systems (“SEVIS”) records or the potential
11   unlawful revocation of their F-1 visas. Such enforcement action includes: detaining Plaintiffs
12   pending these proceedings, transferring Plaintiffs away from the jurisdiction of this District
13   pending these proceedings, and removing Plaintiffs from the United States pending these
14   proceedings.
15          Plaintiffs, through this temporary restraining order, therefore seek an order preventing
16   Defendants from arresting and incarcerating them in an immigration jail pending the resolution
17   of these proceedings. Plaintiffs further seek that Defendants revocation of Plaintiffs’ SEVIS
18   accounts be declared without legal force for the duration of this litigation, which is necessary to
19   maintain the status quo in their cases whereby they continue to be in valid F-1 nonimmigrant
20   status, continue to attend school and work pursuant to their valid F-1 student statuses (and their
21   underlying valid I-20s), and may seek the concomitant benefits of that valid status, such as the
22   legal eligibility to apply for Optional Practice Training, Curricular Practical Training, or a
23   change of status to another nonimmigrant visa status, or adjustment of status to lawful permanent
24   resident, while this litigation remains pending.
25          Plaintiffs also seek an order requiring parties to redact or file any information identifying
26   Plaintiffs under seal, and an order limiting the sharing by government counsel of any information
27   about Plaintiffs’ identities or related personal information beyond what is reasonably necessary
28   for this litigation (including to comply with Court orders) and to prohibit use of the information

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 1   for any purpose outside of the litigation.
 2          The reasons in support of this Motion are set forth in the accompanying Memorandum of
 3   Points and Authorities. This Motion is based on the Complaint for Declaratory and Injunctive
 4   Relief Under the Administrative Procedure Act and the Declaratory Judgment Act (Dkt. 1), as
 5   well as the Declaration of Zachary Nightingale with Accompanying Exhibits (Dkt. 1-1, Exhibits
 6   (“Exhs.”) A-Q). As set forth in the Points and Authorities in support of this Motion, Plaintiffs
 7   raise that they warrant a temporary restraining order due to their weighty liberty interests under
 8   the Due Process Clause of the Fifth Amendment in remedying the unlawful revocation of their
 9   SEVIS statuses, to preserve their status quo ability to pursue their education and relevant
10   employment opportunities pursuant to that education, and to prevent against any further
11   enforcement action by the government stemming from these unlawful SEVIS terminations.
12          WHEREFORE, Plaintiffs pray that this Court grant their request for a temporary
13   restraining order enjoining Defendants from arresting and incarcerating Plaintiffs pending
14   resolution of these proceedings, transferring Plaintiffs away from the jurisdiction of this District
15   pending these proceedings, and removing Plaintiffs from the United States pending these
16   proceedings, as well as an order that Defendants’ termination of Plaintiffs’ SEVIS records be
17   declared without legal force for the duration of this litigation, which is necessary to maintain the
18   status quo in their cases such that they may continue to attend school and work pursuant to their
19   F-1 student statuses while this litigation remains pending.
20          Plaintiff also requests that the Court issue an order requiring parties to redact or file any
21   information identifying Plaintiff under seal, and an order limiting the sharing by government
22   counsel of any information about Plaintiff’s identity or related personal information beyond what
23   is reasonably necessary for the litigation (including to comply with Court orders) and to prohibit
24   use of the information for any purpose outside of the litigation.
25          The only mechanism to ensure that Plaintiffs are not unlawfully detained, transferred, or
26   removed in violation of their due process rights, or subject to further irreparable harm resulting
27   from the unlawful termination of their SEVIS accounts, is an ex-parte temporary restraining
28   order from this Court.

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 1        Dated: April 16, 2025              Respectfully Submitted
 2
                                             /s/Zachary Nightingale
 3                                           Zachary Nightingale
                                             Attorney for Plaintiffs
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 1     I.    INTRODUCTION
 2           Plaintiffs S.Y., Z.D., Y.W., H.G., and W.X. by and through undersigned counsel, hereby
 3   file this motion for a temporary restraining order and preliminary injunction to prevent
 4   Defendants from taking any enforcement action against Plaintiffs arising directly or indirectly
 5   from the unlawful termination of their SEVIS records or the potential unlawful revocation of
 6   their F-1 visas. Such enforcement action includes: detaining Plaintiffs pending these
 7   proceedings, transferring Plaintiffs away from the jurisdiction of this District pending these
 8   proceedings, and removing Plaintiffs from the United States pending these proceedings.
 9           Plaintiffs, through this temporary restraining order, also ask that the Court enjoin
10   Defendants from directly or indirectly enforcing, implementing, or otherwise taking any action
11   or imposing any legal consequences as a result of the decision to terminate Plaintiffs’ SEVIS
12   records, and until the merits of Plaintiffs’ Complaint are resolved. Plaintiffs further seek to
13   maintain the status quo whereby they may continue to attend school and work pursuant to their
14   F-1 student statuses (and underlying valid I-20s), and they may seek the concomitant
15   opportunities that are part and parcel of that valid status such as the legal eligibility to apply for
16   Optional Practice Training (“OPT”), Curricular Practical Training (“CPT”), or a change of status
17   to another nonimmigrant visa status, or adjustment of status to lawful permanent resident, while
18   this litigation remains pending.
19           Plaintiffs also seek an order requiring the parties to redact or file any information
20   identifying Plaintiffs under seal, and an order limiting the sharing by government counsel of any
21   information about Plaintiffs’ identities or related personal information beyond what is reasonably
22   necessary for the litigation (including to comply with Court orders) and to prohibit use of the
23   information for any purpose outside of the litigation.
24           Plaintiffs S.Y., Z.D., Y.W., H.G., and W.X. are all individuals in lawful F-1 visa status
25   who are maintaining their status by being either current students or former students who are now
26   employed pursuant to post-graduate OPT employment authorization. They are several of
27   hundreds, if not more, F-1 students nationwide whose SEVIS records, like those of Plaintiffs
28   here, have been abruptly and unlawfully terminated by the U.S. Department of Homeland

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 1   Security (“DHS”), U.S. Immigration and Customs Enforcement (“ICE”) since approximately
 2   April 4, 2025, in an apparent attempt to jeopardize their lawful immigration status, with no
 3   lawful or valid basis.
 4             There are two distinct but related problems with ICE’s termination of the SEVIS records.
 5   First, the grounds cited by ICE in the SEVIS termination do not provide legal authority to
 6   terminate Plaintiffs’ SEVIS records, and neither do the underlying facts referred to by ICE as
 7   they do not amount to any violation of the students’ lawful status. Second, ICE appears to be
 8   taking the position that the termination of an individual’s SEVIS record effectively ends their F-1
 9   visa status, which is not the case. Even when a visa is revoked, ICE is not authorized to terminate
10   Plaintiffs’ F-1 student statuses. Here, Plaintiffs have been in full compliance with the terms of
11   their F-1 status and have not engaged in any conduct that would warrant termination of their
12   status.
13             Rather, ICE’s policy of unlawfully terminating SEVIS records—whether in conjunction
14   with F-1 visa revocations or not—appears to be designed to coerce students, including Plaintiffs,
15   into abandoning their studies or post-graduate employment and choosing to voluntarily leave the
16   country, despite not having violated their status. For example, on March 5, 2025, DOS informed
17   a graduate student at Columbia University, Ranjani Srinivasan, that her F-1 student visa had been
18   cancelled, with her SEVIS subsequently terminated. 1 On March 14, 2025, Secretary of
19   Homeland Security Kristi Noem issued a post on X, accompanied by a video of Ranjani
20   Srinivasan: “I’m glad to see one of the Columbia University terrorist sympathizers use the CBP
21   Home app to self deport.” 2 In another example, on April 9, 2025, Plaintiff W.X. received an
22   email from DOS revoking their F-1 visa. Dkt. 1-1 at Exh. P. That email includes the following
23   language:
24             Remaining in the United States without a lawful immigration status can result in
25             fines, detention, and/or deportation. It may also make you ineligible for a future

26   1
       Luis Ferre-Sadurni & Hamed Aleaziz, How a Columbia Student Fled to Canada After ICE
     Came Looking for Her, N.Y. Times (Mar. 15, 2025), available at
27
     https://www.nytimes.com/2025/03/15/nyregion/columbia-student-kristinoem-video.html.
     2
28     Kristi Noem, X (Mar. 14, 2025, 11:01 a.m.), available at
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            U.S. visa. Please note that deportation can take place at a time that does not allow
 1
            the person being deported to secure possessions or conclude affairs in the United
 2          States. Persons being deported may be sent to countries other than their countries
            of origin.
 3
            Given the gravity of this situation, individuals whose visa was revoked may wish
 4
            to demonstrate their intent to depart the United States using the CBP Home App
 5          at https://www.cbp.gov/about/mobile-apps-directory/cbphome.

 6   Id. Plaintiffs S.Y. and Z.D. have both received similar notices. Id. at Exhs. C, H.

 7          Other students who have had their F-1 visa revoked and/or SEVIS status terminated have

 8   been arrested and detained, sometimes before even learning their visa had been revoked at all.

 9   On information and belief, there is a policy and practice of transferring these individuals far from

10   their homes, school, and communities, by physically moving them to detention centers in Texas

11   and Louisiana once detained. There have been several high-profile cases of immigration arrests

12   in New York, Washington D.C., and Boston, in which the government quickly moved the

13   detainees across state lines to detention facilities in Louisiana and Texas. 3 On information and

14   belief, there are several additional cases of students who have been arrested since their visas

15   were revoked who were initially detained near where they lived, then moved far from their

16   home, school/employer and community, to a detention facility in Texas or Louisiana the day

17   before or day of their bond hearing in immigration court.

18          If ICE believes a student is deportable for having violated their visa status, or any other

19   lawful reason, it has the authority to initiate removal proceedings and make its case in

20   immigration court. ICE cannot, however, misuse SEVIS to circumvent the law, strip students of

21   status, and drive them out of the country without process. ICE similarly cannot engage in

22
     3
      See, e.g., McKinnon de Kuyper, Mahmoud Khalil’s Lawyers Release Video of His Arrest, N.Y.
23   Times (Mar. 15, 2025), available at
     https://www.nytimes.com/video/us/politics/100000010054472/mahmoud-khalils-arrest.html
24
     (Mahmoud Khalil, arrested in New York and transferred to Louisiana); What we know about the
25   Tufts University PhD student detained by federal agents, CNN (Mar. 28, 2025),
     https://www.cnn.com/2025/03/27/us/rumeysa-ozturk-detained-what-we-know/index.html
26   (Rumeysa Ozturk, arrested in Boston and transferred to Louisiana); Kyle Cheney & Josh
     Gerstein, Trump is seeking to deport another academic who is legally in the country, lawsuit
27
     says, Politico (Mar. 19, 2025), available at https://www.politico.com/news/2025/03/19/trump-
28   deportationgeorgetown-graduate-student-00239754 (Badar Khan Suri, arrested in Arlington,
     Virginia and transferred to Texas).
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 1   retaliatory arrests and transfers – without legal basis if the SEVIS termination was unlawful -- to
 2   further intimidate students into abandoning their studies and fleeing the country to avoid arrest.
 3           Plaintiffs meet the standard for a temporary restraining order. They will suffer immediate
 4   and irreparable harm absent an order from this Court enjoining Defendants from taking further
 5   unlawful action stemming from the unlawful termination of their SEVIS records—including
 6   arrest and detention—during the pendency of these proceedings. Since holding federal agencies
 7   accountable to constitutional demands is in the public interest, the balance of equities and public
 8   interest also tip strongly in Plaintiffs’ favor.
 9    II.    STATEMENT OF FACTS AND CASE
10           As mentioned above, Plaintiffs S.Y., Z.D., Y.W., H.G., and W.X. are all individuals in
11   lawful F-1 visa status who are maintaining their status by being either current students or
12   employed pursuant to post-graduate OPT employment authorization. Since April 4, 2025, their
13   SEVIS records were abruptly and unlawfully terminated by ICE without any notice or basis for
14   the termination.
15           SEVIS is a government database that tracks international students’ compliance with their
16   F-1 status. ICE, through the Student and Exchange Visitor Program (“SEVP”), uses SEVIS to
17   monitor students’ statuses. Within a short time period starting April 4, 2025, SEVP terminated
18   each Plaintiff’s SEVIS record and marked each Plaintiff as “Otherwise Failing to Maintain
19   Status – Individual identified in criminal records check and/or has had their visa revoked,” with
20   no citation to any provision of law that indicates a basis for not maintaining status, or other facts
21   that indicate a lack of status, or an actual violation of their status. All Plaintiffs have had some
22   form of law enforcement contact in the United States—but none of them have any criminal
23   history that violates the terms of their F-1 status or otherwise renders them deportable.
24               A. PLAINTIFF S.Y.
25           Plaintiff S.Y. is currently a graduate student in F-1 status in the Northern District of

26   California. They first came to study in the United States on a student visa in 2013 and completed

27   an undergraduate degree.

28           In 2018, Plaintiff S.Y.’s F-1 visa was revoked by DOS due to a misdemeanor conviction


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 1   they sustained for driving under the influence. Their F-1 status was not terminated at that time.
 2   Plaintiff S.Y. thereafter re-applied for a new F-1 visa at a U.S. consulate abroad, and submitted
 3   the requisite medical examination and relevant court documents as part of the application. In
 4   2018, Plaintiff S.Y. was then issued a new F-1 visa, and they reentered the United States to
 5   continue their studies and complete their undergraduate degree.
 6          In 2024, Plaintiff S.Y. applied for and obtained another F-1 visa, again fully revealing
 7   the prior misdemeanor, and entered the United States to begin their graduate program.
 8          On or about April 8,, 2025, Plaintiff S.Y. received notice from the university where they
 9   are currently a graduate student that their SEVIS status was terminated. The only explanation
10   was a code given for the termination which was “Otherwise Failing to Maintain Status.” The
11   reason listed was that Plaintiff S.Y. had been identified in a criminal records check.
12          Plaintiff S.Y. was informed that the school itself did not terminate their SEVIS status,
13   and is otherwise unaware of the factual basis for the termination of their SEVIS status. Plaintiff
14   S.Y. believes that the valid I-20 issued by their school has not been terminated. On or about
15   April 9, 2025, Plaintiff S.Y. also received notice from DOS that their F-1 visa had been revoked.
16          Plaintiff S.Y.’s only criminal history is the 2018 misdemeanor conviction for California
17   Vehicle Code § 23152(b), for which they paid a fine and completed classes pursuant to the First
18   Offender program. Plaintiff S.Y.’s minor misdemeanor conviction is not for a crime of violence,
19   nor did it carry a potential sentence of more than one year. This single conviction does not
20   render Plaintiff S.Y. inadmissible to or deportable from the United States.. Importantly, long
21   before the SEVIS termination on April 8, 2025, Plaintiff S.Y. had informed DOS of their
22   criminal conviction. Subsequent to learning of Plaintiff S.Y.’s conviction, DOS reissued them
23   another F-1 visa in 2018, and thereafter approved Plaintiff S.Y.’s current F-1 visa in 2024, and
24   Plaintiff S.Y. was admitted into the United States, again with knowledge of that conviction,
25   because their conviction does not render them ineligible for a visa nor inadmissible to, or
26   deportable from, the United States.
27          Plaintiff S.Y. has had no other law enforcement contact that would raise any other
28   question of a possible violation of their visa status, other than the one misdemeanor which

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 1   occurred and was disclosed long before the instant visa was granted.
 2              B. PLAINTIFF Z.D.
 3          Plaintiff Z.D. is currently in valid F-1 status, and is employed pursuant to post-graduate

 4   OPT employment authorization, which is authorized through their F-1 student status, in the

 5   Northern District of California.

 6          Plaintiff Z.D. first came to study in the United States on a student visa in 2021, and they

 7   received an undergraduate degree and eventually a graduate degree in 2024. Since that time,

 8   Plaintiff Z.D. has lawfully worked in the United States pursuant to their F-1 OPT status and

 9   associated employment authorization.

10          On or about April 4, 2025, Plaintiff Z.D. received notice from their graduate university

11   that their SEVIS status was terminated. The code given for the termination was “Otherwise

12   Failing to Maintain Status.” The reason listed was that Plaintiff Z.D. had been identified in a

13   criminal records check. On or about April 6, 2025, Plaintiff Z.D. also received notice from DOS

14   that their F-1 visa had been revoked.

15          Plaintiff Z.D. was not informed by their graduate university that the school itself

16   terminated their SEVIS status, and Plaintiff Z.D. is unaware of the factual basis for the

17   termination of their SEVIS status. Plaintiff Z.D. believes that the valid form I-20 issued by their

18   school has not been terminated. On or about April 6, 2025, Plaintiff Z.D. also received notice

19   from DOS that their F-1 visa had been revoked.

20          Plaintiff Z.D.’s only criminal history is a 2024 conviction for misdemeanor California

21   Penal Code § 415 (disturbing the peace) for which they paid a fine. Plaintiff Z.D.’s minor

22   misdemeanor conviction is not for a crime of violence, nor did it carry a potential sentence of

23   more than one year, and thus does not trigger the regulatory provision for a criminal matter that

24   violates the terms of a nonimmigrant visa. This single conviction also does not render Plaintiff

25   Z.D. inadmissible to or deportable from the United States.

26          Plaintiff Z.D. is highly valued by their employer, which desires for them to continue to

27   work at the company. However, Plaintiff Z.D.’s ability to do so is in jeopardy due to the

28   termination of their SEVIS record and status.


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                C. PLAINTIFF Y.W.
 1
            Plaintiff Y.W. is currently an undergraduate student in F-1 status in the Northern District
 2
     of California.
 3
            Plaintiff Y.W. first came to study in the United States on a student visa in 2021. Plaintiff
 4
     Y.W. left the country and in 2022 attempted to return to the United States for the purpose of
 5
     transiting though the country on their way to another destination. However, their visa was not
 6
     appropriate for that purpose, which was an oversight on their part. As a result, Plaintiff Y.W.
 7
     was then denied entry to the United States, and they were subjected to expedited removal and
 8
     thus deported from the United States.
 9
            Plaintiff Y.W. thereafter sought to return lawfully to continue their studies. As part of
10
     their application for a new F-1 student visa, Plaintiff Y.W. applied for and received a waiver of
11
     their inadmissibility (for the prior deportation) under INA § 212(d)(3), which was granted by
12
     DOS. With the waiver for that inadmissibility granted, they were again eligible to enter the
13
     United States lawfully. They traveled to the United States on that new F-1 visa in 2024 to
14
     continue their undergraduate program.
15
            On or about April 4, 2025, Plaintiff Y.W. received a phone call from the international
16
     students’ office from the university where they are currently an undergraduate student informing
17
     them that their SEVIS status was terminated. They were not given a reason for the termination.
18
     Plaintiff Y.W. was informed that the school itself did not terminate their SEVIS status, but they
19
     are unaware of the factual basis for the termination of their SEVIS status. Plaintiff Y.W.
20
     believes that the valid form I-20 issued by their school has not been terminated.
21
            Plaintiff Y.W. does not have any criminal history in the United States or abroad. Plaintiff
22
     Y.W. therefore does not have any criminal arrest or conviction, let alone a conviction for a
23
     crime of violence with a potential sentence of more than one year. While Plaintiff Y.W. was
24
     previously deported, which was not a criminal matter, they thereafter applied for another F-1
25
     visa with an accompanying waiver of inadmissibility under INA § 212(d)(3) to waive the
26
     associated ground of inadmissibility. That waiver was granted. They were subsequently also
27
     granted and traveled to the United States on the F-1 visa. This does not render Plaintiff Y.W.
28

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 1   ineligible for a visa nor inadmissible or deportable from the United States, and no other changes
 2   relating to their eligibility for their valid visa status are known to exist.
 3                 D. PLAINTIFF H.G.
 4           Plaintiff H.G. is currently a graduate student in F-1 status in the Northern District of

 5   California.

 6           Plaintiff H.G. first came to study in the United States on a student visa in 2019 and

 7   received an undergraduate degree.

 8           Plaintiff H.G. thereafter obtained and traveled to the United States on a B-2 visa in 2022,

 9   an A-2 visa in 2022, and another F-1 visa in 2024 to begin their graduate program.

10           On or about April 4, 2025, Plaintiff H.G. received notice from the university where they

11   are currently a graduate student that their SEVIS status was terminated. The code given for the

12   termination was “Otherwise Failing to Maintain Status.” The reason listed was that Plaintiff

13   H.G. had been identified in a criminal records check. Plaintiff H.G. was informed that the school

14   itself did not terminate their SEVIS status, but they are unaware of the factual basis for the

15   termination of their SEVIS status. Plaintiff H.G. believes that the valid form I-20 issued by their

16   school has not been terminated.

17           Plaintiff H.G.’s only criminal history is an arrest in 2021 for which all the related

18   charges were dismissed by the court. Plaintiff H.G. therefore does not have any conviction, let

19   alone a conviction for a crime of violence with a potential sentence of more than one year. This

20   single arrest and the subsequently dismissed charges do not render Plaintiff H.G. inadmissible to

21   or deportable from the United States. Importantly, long before the SEVIS termination on April

22   4, 2025, Plaintiff H.G. had informed DOS of their criminal arrest without conviction.

23   Subsequent to learning of Plaintiff H.G.’s arrest without conviction, DOS approved the three

24   later applications for nonimmigrant visas—specifically the B-2 and A-2 visas in 2022, and the

25   F-1 visa in 2024—for Plaintiff H.G., because DOS correctly recognized that their arrest and

26   dismissed charges do not render them ineligible for a visa nor inadmissible or deportable from

27   the United States.

28                 E. PLAINTIFF W.X.


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 1          Plaintiff W.X. is currently in F-1 status, and is employed pursuant to post-graduate
 2   STEM OPT employment authorization, which is authorized through their F-1 student status, in
 3   the Northern District of California.
 4          Plaintiff W.X. first came to study in the United States on a student visa in 2017, and they
 5   received a high school diploma, an undergraduate degree, and eventually a graduate degree in
 6   2024. Since that time, Plaintiff W.X. has worked in the United States pursuant to their F-1 status
 7   and associated employment authorization.
 8          On or about April 4, 2025, Plaintiff W.X. received notice from the university where they
 9   obtained their graduate degree, which oversees their post-graduate employment authorization,
10   that their SEVIS status was terminated. The code given for the termination was “Otherwise
11   Failing to Maintain Status.” The reason listed was that Plaintiff W.X. had been identified in a
12   criminal records check. Plaintiff W.X. was informed that the school itself did not terminate their
13   SEVIS status, but they are unaware of the factual basis for the termination of their SEVIS status.
14   Plaintiff W.X. believes that the valid form I-20 issued by their school has not been terminated.
15   On or about April 9, 2025, Plaintiff W.X. also received notice from DOS that their F-1 visa had
16   been revoked.
17          Plaintiff W.X.’s only criminal history is an arrest in 2024 for which no charges were
18   filed. Plaintiff W.X. therefore does not have any conviction, let alone a conviction for a crime of
19   violence with a potential sentence of more than one year. This single arrest does not render
20   Plaintiff W.X. inadmissible to or deportable from the United States.
21          Plaintiff W.X. is highly valued by their employer, which desires for them to continue to
22   work at the company. However, Plaintiff W.X.’s ability to do so is in jeopardy due to the
23   termination of their SEVIS record and status.
24          Since they received the notices of their SEVIS terminations, all Plaintiffs have been
25   experiencing high levels of stress and anxiety. They are unsure of what will happen to them, and
26   they fear the possibility of several consequences, including the lack of ability to continue their
27   studies, the lack of ability to continue their OPT employment, or ability to start OPT
28   employment following graduation, the lack of ability to change status to another visa status

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 1   (such as H-1b or O-1) based on employment obtained after graduation from school, detention
 2   and incarceration by ICE, or ultimately deportation or otherwise an obligation to leave the
 3   country without any ability to return to their studies, employment, career, or community.
 4            Intervention from this Court is therefore required to ensure that Plaintiffs do not continue
 5   to suffer irreparable harm.
 6                F. CORRESPONDENCE WITH DEFENDANTS’ COUNSEL
 7         On April 11, 2025, undersigned counsel for Plaintiffs corresponded with Defendants’ counsel

 8   via email to notify counsel of Plaintiffs intent to file the instant Motion for a Temporary

 9   Restraining Order. See Declaration of Zachary Nightingale (“ZN Decl.”). On April 14, 2025,

10   Defendants’ counsel stated they have notified Defendants of this case, but that Defendants

11   cannot stipulate to the terms herein at this time. Id.

12   III.     LEGAL STANDARD

13            Plaintiffs are entitled to a temporary restraining order where they establish that they are

14   “likely to succeed on the merits, . . . likely to suffer irreparable harm in the absence of

15   preliminary relief, that the balance of equities tips in [their] favor, and that an injunction is in the

16   public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); Stuhlbarg Int’l

17   Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001) (noting that preliminary

18   injunction and temporary restraining order standards are “substantially identical”). Even if

19   Plaintiffs do not show a likelihood of success on the merits, the Court may still grant a temporary

20   restraining order if they raise “serious questions” as to the merits of their claims, the balance of

21   hardships tip “sharply” in their favor, and the remaining equitable factors are satisfied. Alliance

22   for the Wild Rockies v. Cottrell, 632 F.3d 1127 (9th Cir. 2011). As set forth in more detail below,

23   Plaintiffs overwhelmingly satisfy both standards.

24   IV.      ARGUMENT

25                A. PLAINTIFFS WARRANT A TEMPORARY RESTRAINING ORDER
26            A temporary restraining order should be issued if “immediate and irreparable injury, loss,

27   or irreversible damage will result” to the applicant in the absence of an order. Fed. R. Civ. P.

28   65(b). The purpose of a temporary restraining order is to prevent irreparable harm before a

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 1   preliminary injunction hearing is held. See Granny Goose Foods, Inc. v. Bhd. Of Teamsters &
 2   Auto Truck Drivers Local No. 70 of Alameda City, 415 U.S. 423, 439 (1974). As explained
 3   above, Plaintiffs’ SEVIS records were abruptly and unlawfully terminated by ICE in an apparent
 4   attempt to jeopardize their lawful immigration status, with no lawful or valid basis. They are
 5   being informed by government messages that effective immediately they cannot continue their
 6   education or related employment. Some of them have received communication from the
 7   government suggesting they should immediately leave the country under threat of detention, and
 8   even possible deportation to a third country. Given the government’s own statements and the
 9   actions related to similarly situated international students, Plaintiffs are at serious and immediate
10   risk of further unlawful enforcement action by ICE—including arrest, detention, being
11   transferred against their will out of the jurisdiction of this District, and deportation from the
12   United States. The unlawful revocation of their SEVIS records without notice or opportunity to
13   respond, and without legal basis, clearly violated Plaintiffs’ due process rights and was otherwise
14   arbitrary and capricious. Plaintiffs have already suffered irreparable injury to their wellbeings
15   and their lives as undergraduate students, graduate students and students engaging in practical
16   training as valued employees in the United States.
17                           1.   Plaintiffs are Likely to Succeed on the Merits of Their Claims
                                  That Defendants’ Actions Violated the Administrative Procedure
18                                Act and Plaintiffs’ Due Process Rights
19          Plaintiffs are likely to succeed on their claim that, by abruptly revoking Plaintiffs’ SEVIS
20   records without any lawful or valid basis, and without any notice or an opportunity to respond,
21   Defendants acted arbitrarily and capriciously in violation of the Administrative Procedure Act
22   (“APA”) and further violated the procedural due process rights of all Plaintiffs.
23          A nonimmigrant visa printed in a passport provides a basis for a noncitizen’s
24   admissibility into the United States, but does not control their continued lawful stay in the United
25   States after they are admitted. Congress established a statutory basis for student visas under 8
26   U.S.C.§ 1101(a)(15)(F)(i), requiring that a noncitizen engage in a full course of study to maintain
27   nonimmigrant status. Implementing regulations further permit F-1 nonimmigrants to obtain
28   employment authorization for OPT “directly related to the student’s major area of study.” 8

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 1   C.F.R. § 214.2(f)(10)(A)(3), (C). Once a holder of an F-1 visa is admitted in F-1 status, a student
 2   is granted permission to remain in the United States not for a fixed period time, as is the case for
 3   other nonimmigrant visa holders, but rather for the duration of status (annotated as D/S) That
 4   status endures (separate from the validity of the visa itself) as long as they continue to meet the
 5   requirements established by the regulations governing their visa classification at 8 C.F.R. §
 6   214.2(f), such as maintaining a full course of study or engaging in authorized post-graduate
 7   employment, and avoiding unauthorized employment.
 8           In order to obtain an F-1 visa, the school at which the student will study issues a form I-
 9   20 to the student confirming their attendance and enrollment in the school, with an expected
10   duration of study. Often, the form I-20 is updated as the student’s curricular progress is updated,
11   both in substance and duration. As long as there is a valid I-20 issued to the student by the
12   school, then the individual is considered to be maintaining their lawful status.
13           Before 2001, there was no centralized database to track student visa holders in the United
14   States, as it is not inherent to the legal ability of a student to maintain status. After 2001,
15   Congress created the SEVIS system to track the status of nonimmigrant visa holders admitted for
16   “duration of status.” 4 SEVIS is a centralized database maintained by the SEVP within ICE, and it
17   is used to manage information on nonimmigrant students and exchange visitors and to track their
18   compliance with the terms of their status. Under 8 C.F.R. § 214.3(g)(2), Designated School
19   Officials (“DSOs”) must report through SEVIS to SEVP when a student or post-graduate
20   employee fails to maintain status. SEVIS termination is governed by SEVP policy and
21   regulations. 5 SEVIS termination can only be based on a student’s failure to maintain status. 6
22           DHS regulations distinguish between two separate ways a student may fail to maintain
23   status: (1) a student or post-graduate employee who “fails to maintain status,” and (2) an agency-
24   initiated “termination of status.”
25
26   4
       USA Patriot Act of 2001, Public Law 107-56, 115 Stat. 2001.
     5 See SEVIS Termination Reasons, DHS Study in the States, (last visited Apr. 6, 2025),
27
     https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-
28   terminations/termination-reasons.
     6
       See id.
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 1               The first category, failure to maintain status, involves circumstances where a student or
 2   post-graduate employee voluntarily or inadvertently falls out of compliance with the F-1 visa
 3   requirements—for example, by failing to maintain a full course of study, engaging in
 4   unauthorized employment, or other violations of their status requirements under 8 C.F.R. §
 5   214.2(f). In addition, 8 C.F.R. §§ 214.1(e)–(g) outlines specific circumstances where certain
 6   conduct by any nonimmigrant visa holder, such as engaging in unauthorized employment,
 7   providing false information to DHS, or being convicted of a crime of violence with a potential
 8   sentence of more than a year, “constitutes a failure to maintain status.”
 9               With the respect to the crime of violence category, 8 C.F.R. § 214.1(g) sets forth that a
10   nonimmigrant’s conviction “for a crime of violence for which a sentence of more than one year
11   imprisonment may be imposed (regardless of whether such sentence is in fact imposed)
12   constitutes a failure to maintain status . . . .” Arrests that do not result in any conviction, and
13   minor infractions or misdemeanor offenses, do not meet this regulatory threshold for termination
14   based on criminal history. The Supreme Court of the United States has held that a crime of
15   violence “means ‘an offense that has as an element the use, attempted use, or threatened use of
16   physical force against the person or property of another.’” See, e.g., Borden v. United States, 593
17   U.S. 420, 427 (2021).
18               The second category, termination of status by ICE, can occur only under the limited
19   circumstances set forth in 8 C.F.R. § 214.1(d), which only permits ICE to terminate status when:
20   (1) a previously granted waiver under INA § 212(d)(3) or (4) [ 8 U.S.C. § 1182(d)(3) or (4)] is
21   revoked; (2) a private bill to confer lawful permanent residence is introduced in Congress; or (3)
22   ICE publishes a notification in the Federal Register identifying national security, diplomatic, or
23   public safety reasons for termination. ICE cannot otherwise unilaterally terminate nonimmigrant
24   status. 7
25               Accordingly, the existence of an arrest (or even minor conviction) does not constitute a
26   basis for SEVIS termination. Likewise, the revocation of a visa does not constitute failure to
27
     7
28    See Jie Fang v. Dir. United States Immigr. & Customs Enf't, 935 F.3d 172, 185 n. 100 (3d Cir.
     2019).
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 1   maintain status and cannot therefore be a basis for SEVIS termination. If a visa is revoked prior
 2   to the student’s arrival to the United States, then a student may not enter the country and the
 3   SEVIS record is terminated. However, the SEVIS record may not be terminated as a result of a
 4   visa revocation after a student has already been admitted into the United States, because status is
 5   not terminated by visa revocation, and the student or post-graduate employee is permitted to
 6   continue the authorized course of study or employee. 8
 7          ICE’s own guidance confirms that “[v]isa revocation is not, in itself, a cause for
 8   termination of the student’s SEVIS record.” 9 Rather, if the visa is revoked, the student or post-
 9   graduate employee is permitted to pursue their course of study in school or authorized post-
10   graduate employment, but upon departure, the SEVIS record is terminated and the student must
11   obtain a new visa from a consulate or embassy abroad before returning to the United States. 10
12          While a visa revocation can be charged as a ground of deportability in removal
13   proceedings before an immigration judge, such alleged deportability can be contested in such
14   proceedings. 11 The immigration judge may dismiss removal proceedings even where a visa is
15   revoked, so long as a student or post-graduate employee is able to remain in valid status. 12 Only
16   when a final removal order is entered would an individual’s status be lost. See 8 U.S.C. §
17   1252(a)(1) (General Orders of Removal); 8 C.F.R. § 1241.1 (Final Order of Removal).
18          A student or post-graduate employee who has not violated their F-1 status, even if their
19   visa is revoked, cannot have a SEVIS record terminated based on INA § 237(a)(1)(C)(i) [8
20   U.S.C. § 1227(a)(1)(C)(i)] (failure to maintain status), INA §237(a)(4)(C)(i) [8 U.S.C. §
21   1227(a)(4)(C)(i)] (foreign policy grounds), or any deportability ground for that matter. See 8
22   C.F.R. § 214.1(d) (establishing the three limited circumstances under which DHS can terminate
23
24   8
       ICE Policy Guidance 1004-04 –Visa Revocations (June 7, 2010), available at
25   https://www.ice.gov/doclib/sevis/pdf/visa_revocations_1004_04.pdf
     9
       Id.
26   10
        Guidance Directive 2016-03, 9 FAM 403.11-3 – VISA REVOCATION (Sept. 12, 2016),
     available at https://www.aila.org/library/dos-guidance-directive-2016-03-on-visa-revocation.
27   11
        See 8 U.S.C. § 1227(a)(1)(B); 8 U.S.C. § 1201(i) (allowing immigration court review of visa
28   revocation).
     12
        8 C.F.R. § 1003.18(d)(ii)(B).
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 1   status). Moreover, there is no provision for termination of SEVIS based on law enforcement
 2   contact.
 3           The immigration courts have no ability to review the SEVIS termination here because the
 4   process is collateral to removal. 13 Only the presence or absence of lawful status can be reviewed
 5   by the immigration judge. The termination of a SEVIS record therefore constitutes final agency
 6   action for purposes of APA review. 14
 7           Under § 705 of the APA, to prevent irreparable injury, a reviewing court “may issue all
 8   necessary and appropriate process to postpone the effective date of an agency action or to
 9   preserve status or rights pending conclusion of the review proceedings.” Here, Defendants’
10   actions in abruptly and unlawfully terminating the SEVIS records of Plaintiffs violated both the
11   APA and the individual Plaintiffs’ due process rights. Justice therefore requires that this Court
12   prevent further irreparable injury to Plaintiffs by issuing this temporary restraining order to
13   preserve Plaintiffs’ statuses and rights pending conclusion of the review proceedings and
14   effectively postpone the agency action. 5 U.S.C. § 705.
15           First, pursuant to § 706(a) of the APA, final agency action can be set aside if it is
16   “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law . . . in
17   excess of statutory jurisdiction, authority, or limitations, or short of statutory right; . . . [or]
18   without observance of procedure required by law.” 5 U.S.C. § 706(2)(A), (C)-(D).
19           As set out above, Defendants have no statutory or regulatory authority to terminate
20   Plaintiffs SEVIS records or statuses, as nothing in Plaintiffs’ criminal histories or immigration
21   histories provides a basis for termination. This is true even if DOS has revoked any Plaintiff’s F-
22   1 visa, as the revocation of an F-1 visa is not a basis for SEVIS termination. Specifically, none of
23   the Plaintiffs have failed to maintain status that would warrant SEVIS termination pursuant to the
24   controlling regulations. 8 C.F.R. § 214.2(f). Based on all known information, none of the
25   Plaintiffs have engaged in unauthorized employment, and none have provided false information
26   to DHS. 8 C.F.R. §§ 214.1(e)–(f). While all Plaintiffs here have law enforcement contact in some
27   13
        See Nakka v. United States Citizenship & Immigr. Servs., 111 F.4th 995, 1007 (9th Cir. 2024);
28   Jie Fang v. Dir. United States Immigr. & Customs Enf't, 935 F.3d 172, 183 (3d Cir. 2019).
     14
        See Fang, 935 F.3d at 185.
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 1   form—either with immigration officials, or by being arrested or sustaining minor misdemeanor
 2   convictions—none of the Plaintiffs have any conviction for a crime of violence with a potential
 3   sentence of more than a year, and some have already been granted new visas by consular
 4   officials who were fully aware of the prior misdemeanor on their record, and some have no
 5   conviction at all. 8 C.F.R. § 214.1(g).
 6          Moreover, ICE cannot unilaterally terminate their SEVIS records because the relevant
 7   conditions for such termination do not exist: none of the Plaintiffs were previously granted a
 8   waiver under INA § 212(d)(3) or (4) that has since been revoked, a private bill to confer lawful
 9   permanent residence relevant to the Plaintiffs has not been introduced in Congress, and ICE has
10   not otherwise published a notification in the Federal Register identifying national security,
11   diplomatic, or public safety reasons for termination. 8 C.F.R. § 214.1(d). What is more,
12   Defendants failed to articulate the facts that formed a basis for their decisions to terminate
13   Plaintiffs’ SEVIS statuses in violation of the APA, and Defendants further failed to articulate any
14   rational connection between the facts found and the decision made.
15          Accordingly, Defendants’ actions in abruptly terminating the SEVIS records of
16   Plaintiffs—actions which had no basis in the law—were arbitrary and capricious, an abuse of
17   discretion, and otherwise not in accordance with the law. 5 U.S.C. § 706(2)(A), (C)-(D).
18   Defendants have therefore violated the APA.
19          Second, under § 706(a) of the APA, final agency action can be set aside if it is “contrary
20   to a constitutional right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(B). Procedural due
21   process requires that the government be constrained before it acts in a way that deprives
22   individuals of property interests protected under the Due Process Clause of the Fifth
23   Amendment. Fuentes v. Shevin, 407 U.S. 67, 80 (1972).
24          Once a student is lawfully admitted to the United States in F-1 status and complies with
25   the regulatory requirements of that status, the continued registration of that student (or post
26   graduate employee engaging in authorized post-graduate employment pursuant to student status)
27   in SEVIS is governed by specific and mandatory regulations, as set out above. Because these
28   regulations impose mandatory constraints on agency action, and because SEVIS registration is

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 1   necessary for a student to remain enrolled as an international student and/or continue any OPT
 2   employment, Plaintiffs have a constitutionally protected property interest in their SEVIS
 3   registrations. See ASSE Int'l, Inc. v. Kerry, 803 F.3d 1059 (9th Cir. 2015) (recognizing protected
 4   property interest in participating in exchange visitor program); Brown v. Holder, 763 F.3d 1141,
 5   1148 (9th Cir. 2014) (recognizing protected property interest in nondiscretionary application for
 6   naturalization).
 7             Defendants terminated Plaintiffs’ SEVIS records based on improper grounds, as no
 8   grounds exist that permit such termination, and moreover such termination was without prior
 9   notice such that Plaintiffs were provided with no opportunity to respond. Fuentes, 407 U.S. at 80
10   (“For more than a century the central meaning of procedural due process has been clear: ‘Parties
11   whose rights are to be affected are entitled to be heard; and in order that they may enjoy that
12   right they must first be notified.’”) (quoting Baldwin v. Hale, 68 U.S. 223, 233 (1864); Mathews
13   v. Eldridge, 424 U.S. 319, 333 (1976) (“The fundamental requirement of due process is the
14   opportunity to be heard ‘at a meaningful time and in a meaningful manner.’”) (quoting
15   Armstrong v. Manzo, 380 U.S. 545, 552 (1965)). The need for that opportunity to respond, and
16   the resulting prejudice from the absence of that opportunity, is clear here, as each of the Plaintiffs
17   would have a valid basis on which to dispute any violation of their status if such a forum existed
18   in which to do so—they could provide the evidence that they sustained no conviction, or that
19   their minor conviction has already been presented to the government officials who already
20   granted the visa, or that the conviction was so minor that it is nowhere close to the kind of
21   offense that constitutes a violation of their status under the relevant existing law. Defendants’
22   failure to provide notice to Plaintiffs of the facts that formed the basis for the SEVIS termination
23   was therefore a violation of due process under the Fifth Amendment
24             Thus, Plaintiffs have established that they are likely to succeed on the merits of their
25   claims.
26                             2. Plaintiffs will Suffer Irreparable Harm Absent Injunctive Relief
27             Each Plaintiff will suffer irreparable harm were a temporary restraining order not issued,
28   their arrests by Defendants not prohibited, and the legal effect of the termination of their SEVIS

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 1   statuses not temporarily enjoined for the duration of this litigation. Plaintiffs are currently at risk
 2   of further unlawful enforcement action by Defendants—including arrest and detention—which
 3   would likely lead to them being transferred to another jurisdiction far away from their
 4   communities, and deportation.
 5           As described above, other students and post-graduate employees who have had their F-1
 6   visa revoked and/or SEVIS status terminated have been arrested and detained, sometimes before
 7   even learning their visa had been revoked at all. On information and belief, there is a policy and
 8   practice of transferring these individuals far from their homes, school, and communities, by
 9   physically moving them to detention centers in Texas and Louisiana once detained. For example,
10   there have been several high-profile cases of immigration arrests in New York, Washington
11   D.C., and Boston, in which the government quickly moved the detainees across state lines to
12   detention facilities in Louisiana and Texas. 15 On information and belief, there are several
13   additional cases of students who have been arrested since their visas were revoked who were
14   initially detained near where they lived, then moved to the South the day before or day of their
15   bond hearing in immigration court.
16           Their fear and concern of similar actions against them is not hypothetical, as Plaintiffs
17   themselves are now starting to receive communication from the government informing them
18   directly that if they are in the United States without status, they could be detained, and even
19   removed to a third country. Dkt. 1-1, Exh. C, H, P. Such statements are a clear reference to the
20   well-publicized examples of other international students who have been so detained, and are
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     15
        See, e.g., McKinnon de Kuyper, Mahmoud Khalil’s Lawyers Release Video of His Arrest, N.Y.
23   Times (Mar. 15, 2025), available at
     https://www.nytimes.com/video/us/politics/100000010054472/mahmoud-khalils-arrest.html
24
     (Mahmoud Khalil, arrested in New York and transferred to Louisiana); “What we know about
25   the Tufts University PhD student detained by federal agents,” CNN (Mar. 28, 2025),
     https://www.cnn.com/2025/03/27/us/rumeysa-ozturk-detained-what-we-know/index.html
26   (Rumeysa Ozturk, arrested in Boston and transferred to Louisiana); Kyle Cheney & Josh
     Gerstein, Trump is seeking to deport another academic who is legally in the country, lawsuit
27
     says, Politico (Mar. 19, 2025), available at https://www.politico.com/news/2025/03/19/trump-
28   deportationgeorgetown-graduate-student-00239754 (Badar Khan Suri, arrested in Arlington,
     Virginia and transferred to Texas).
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 1   clearly intended to be a warning that similar actions could take place against Plaintiffs
 2   themselves. Id.
 3          Over the past two weeks, visa revocations and SEVIS terminations have shaken
 4   campuses across the country and California, including those in the University of California
 5   system and Stanford University. 16 The targeted SEVIS terminations have taken place against the
 6   backdrop of numerous demands being made of universities by the federal government and
 7   threats of cutting off billions of dollars in federal funding. They have created chaos as schools
 8   have attempted to understand what is happening and do their best to inform and advise students
 9   who are justifiably frightened about being arrested and shipped to an immigration jail far away
10   from their communities.
11          Apart from fearing the very real possibility of further unlawful enforcement action, since
12   receiving the notices of their SEVIS terminations, all Plaintiffs have been experiencing high
13   levels of stress and anxiety. They are unsure of what will happen to them, and they fear the
14   possibility of several consequences, including the lack of ability to continue their studies, the
15   lack of ability to continue their OPT employment connected with their education, or ability to
16   start OPT employment following graduation in the coming few months, the lack of ability to
17   change status to another visa status (such as H-1b or O-1 relating to employment in professional
18   capacity or by someone with outstanding abilities) based on employment obtained after
19   graduation from school (as such change of status must be filed while the individual is still in a
20   valid status), detention and incarceration by ICE far away from their communities in the United
21   States, or ultimately deportation or otherwise the obligation to leave the country without any
22   ability to return to their studies, employment, career, or community.
23          Interruption of their multi-year education in the United States, often after years of hard
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     16
25      See Binkley, Collin, Annie Ma, and Makiya Seminera, Federal officials are quietly
     terminating the legal residency of some international college students, Associated Press, April 4,
26   2025, https://apnews.com/article/college-international-student-f1-visa-ice-trump-
     7a1d186c06a5fdb2f64506dcf208105a; Kaleem, Jaweed, Trump administration cancels dozens of
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     international student visas at University of California, Stanford, Los Angeles Times, April 5,
28   2025, https://www.latimes.com/california/story/2025-04-05/trump-administration-cancels-
     international-student-visas-university-of-california-stanford.
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 1   work and investment of time and resources, would be an irreparable injury. Interruption of their
 2   employment as part of that education which is often the next step to a successful career based on
 3   their education in the United States would be an irreparable injury to themselves and their
 4   employer. Being unable to move on to the next step in their education or career such as practical
 5   training or another work-related visa would be an irreparable injury—because the absence of the
 6   ability to continue in valid status would mean having to depart the country. In this case the
 7   circumstances of such departure strongly indicate the absence of any ability to return, especially
 8   given that some of the Plaintiffs had previously departed, presented their criminal history, and
 9   were granted the very visa of which they are now accused of having violated the terms. That
10   strongly suggests that if allowed to stand, any other future visa application would be denied
11   under whatever justification the government currently believes requires the revocation of their
12   current status. Therefore, if Plaintiffs’ visa statuses are allowed to be terminated, they will be
13   obligated to leave the country and can expect to never be permitted to return.
14          Thus, a temporary restraining order is necessary to prevent Plaintiffs from suffering
15   irreparable harm by being subjected to further unlawful enforcement action stemming from the
16   unlawful termination of their SEVIS records.
17                           3. The Balance of Equities and the Public Interest Favor Granting
                               the Temporary Restraining Order
18
            The balance of equities and the public interest undoubtedly favor granting this
19
     temporary restraining order.
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            First, the balance of hardships strongly favors Plaintiffs. The government cannot suffer
21
     harm from an injunction that prevents it from engaging in an unlawful practice. See Zepeda v.
22
     I.N.S., 753 F.2d 719, 727 (9th Cir. 1983) (“[T]he INS cannot reasonably assert that it is harmed
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     in any legally cognizable sense by being enjoined from constitutional violations.”). Plaintiffs are
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     students and post-graduate employees who have maintained their student statuses, are actively
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     engaged in educational activities, or in some cases are lawfully employed, which has been the
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     status quo for multiple years. To the extent there was some minimal misdemeanor criminal
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     activity, it was often many years ago, and long known to the government. As such, there is no
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 1   evidence of any sudden change in underlying facts, or imminent harm to the government or
 2   public interest in these students continuing their studies or work for the brief period of time that
 3   the instant litigation will take to determine whether they lawfully can continue to do that.
 4   Therefore, the government cannot allege harm arising from a temporary restraining order or
 5   preliminary injunction ordering it to comply with the APA and the Constitution.
 6           Further, any purported burden imposed by requiring Defendants to refrain from taking
 7   further unlawful enforcement action against Plaintiffs is, at most, de minimis and clearly
 8   outweighed by the substantial harm Plaintiffs will suffer as long as they continue to be subjected
 9   to the very real possibility of further unlawful enforcement action, including arrest and
10   incarceration at an immigration jail far away from their communities. See Lopez v. Heckler, 713
11   F.2d 1432, 1437 (9th Cir. 1983) (“Society’s interest lies on the side of affording fair procedures
12   to all persons, even though the expenditure of governmental funds is required.”); see also
13   Hernandez v. Sessions, 872 F.3d 976, 995 (9th Cir. 2017) (noting “irreparable harms imposed on
14   anyone subject to immigration detention” including “subpar medical and psychiatric care in ICE
15   detention facilities, the economic burdens imposed on detainees and their families as a result of
16   detention…” ).
17           Finally, a temporary restraining order is in the public interest. First and most importantly,
18   “it would not be equitable or in the public’s interest to allow [a party] . . . to violate the
19   requirements of federal law, especially when there are no adequate remedies available.” Ariz.
20   Dream Act Coal. v. Brewer, 757 F.3d 1053, 1069 (9th Cir. 2014) (quoting Valle del Sol Inc. v.
21   Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013)). If a temporary restraining order is not entered, the
22   government would effectively be granted permission to take unlawful and unconstitutional
23   enforcement action against Plaintiffs based on their unlawful SEVIS terminations. “The public
24   interest and the balance of the equities favor ‘prevent[ing] the violation of a party’s constitutional
25   rights.’” Ariz. Dream Act Coal., 757 F.3d at 1069 (quoting Melendres v. Arpaio, 695 F.3d 990,
26   1002 (9th Cir. 2012)); see also Hernandez, 872 F.3d at 976 (“The public interest benefits from
27   an injunction that ensures that individuals are not deprived of their liberty and held in
28   immigration detention. . .”); cf. Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005)

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 1   (“Generally, public interest concerns are implicated when a constitutional right has been
 2   violated, because all citizens have a stake in upholding the Constitution.”).
 3          Therefore, the public interest overwhelmingly favors entering a temporary restraining
 4   order and preliminary injunction.
 5    V.    CONCLUSION
 6          For all the above reasons, this Court should find that Plaintiffs warrant a temporary
 7   restraining order and a preliminary injunction preserving the status quo before the SEVIS
 8   terminations.
 9          This Court should first grant a temporary restraining order to:
10          1. Enjoin Defendants from arresting and incarcerating Plaintiffs pending the resolution of
11            these proceedings. 5 U.S.C. § 705;
12          2.Enjoin Defendants from transferring Plaintiffs outside the jurisdiction of this District
13            pending the resolution of these proceedings. 5 U.S.C. § 705; and
14          3. Enjoin any legal effect that the unlawful termination of Plaintiffs SEVIS statuses or the
15            potential unlawful revocation of their F-1 visas may have, 5 U.S.C. § 705; § 706(2)(A),
16            (C)-(D), including:
17                   a. Preventing Plaintiffs from continuing their existing studies or employment
18                      authorization under CPT or OPT in valid F-1 visa status. 5 U.S.C. § 705; §
19                      706(2)(A), (C)-(D);
20                   b. Preventing, based on an alleged lack of valid nonimmigrant visa status,
21                      Plaintiffs from changing status to another nonimmigrant status, or applying
22                      for adjustment of status to lawful permanent resident. 5 U.S.C. § 705; §
23                      706(2)(A), (C)-(D);
24                   c. Determining that Plaintiffs are accruing unlawful presence in the United
25                      States as a result of the SEVIS terminations. 5 U.S.C. § 705; § 706(2)(A), (C)-
26                      (D); and
27                   d. Preventing Plaintiffs from entering the United States using their valid F-1 visa
28                      or, if necessary, applying for another F-1 visa for which they would be

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 1                      eligible but for the SEVIS termination being challenged.
 2           Furthermore, to prevent any retaliatory arrests, the Court should also issue an order
 3   requiring the parties to redact or file any information identifying Plaintiffs under seal, and an
 4   order limiting the sharing by Defendants’ counsel of any information about Plaintiffs’ identities
 5   or related personal information beyond what is reasonably necessary for the litigation (including
 6   to comply with Court orders) and to prohibit use of the information for any purpose outside of
 7   the litigation.
 8
 9   Dated: April 16, 2025                          Respectfully submitted,
10                                                         s/Zachary Nightingale
                                                           Zachary Nightingale
11                                                         Attorney for Plaintiffs
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